Appellate Case: 23-3093       Document: 010110863697            Date Filed: 05/23/2023    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                         May 23, 2023


  Anthony S. Kidd
  El Dorado Correctional Facility
  P.O. Box 311
  El Dorado, KS 67042
  #93399
  RE:       23-3093, Kidd v. Baker, et al
            Dist/Ag docket: 5:22-CV-03123-JWL

 Dear Appellant:

 The court has received and docketed your appeal. Please note your case number above.

 Pro se parties must complete and file an entry of appearance form within thirty days of
 the date of this letter.

 Please note that a separate fee is due for initiating an appeal to the circuit court. You are
 required to pay the $505.00 fee ($5.00 filing fee and $500.00 docket fee) to the district
 clerk or file an application for leave to proceed on appeal without prepayment of fees
 with the district court within 30 days of the date of this letter, or this appeal may be
 dismissed without further notice. See Fed. R. App. P. 3(e) and 10th Cir. R. 3.3(B).

 In addition, all counselled entities that are required to file a Federal Rule of Appellate
 Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
 All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
 26.1 for applicable disclosure requirements. A disclosure statement must be filed even if
 there is nothing to disclose. Rule 26.1 disclosure statements must be promptly updated as
 necessary. See 10th Cir. R. 26.1(A).

 Attorneys must complete and file an entry of appearance and certificate of interested
 parties within 14 days of the date of this letter. See 10th Cir. R. 46.1(A) and (D). An
 attorney who fails to enter an appearance within that time frame will be removed from
 the service list for this case, and there may be other ramifications under the rules. If an
 appellee does not wish to participate in the appeal, a notice of non-participation should be
 filed via ECF as soon as possible. The notice should also indicate whether counsel wishes
 to continue receiving notice or service of orders issued in the case.
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 Prisoners are reminded that to invoke the prison mailbox rule they must file with each
 pleading a declaration in compliance with 28 U.S.C. Section 1746 or a notarized
 statement, either of which must set forth the date of deposit with prison officials and must
 also state that first-class postage has been prepaid. See Fed. R. App. P. 4(c) and United
 States v. Ceballos-Martinez, 358 F.3d 732, revised and superseded, 371 F.3d 713 (10th
 Cir.), reh'g denied en banc, 387 F.3d 1140 (10th Cir.), cert. denied, 125 S. Ct. 624
 (2004). Prisoners should also review carefully Federal Rule of Appellate Procedure
 4(c)(1), which was amended December 1, 2022.

 You will receive further instructions regarding prosecution of this appeal from the court
 within the next few weeks.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Matthew Shoger




  CMW/at
